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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
LOWER SUSQUEHANNA                          :   Civil No. 1:23-CV-00044
RIVERKEEPER ASSOCIATION,                   :
                                           :
             Plaintiff,                    :
                                           :
             v.                            :
                                           :
REPUBLIC SERVICES OF                       :
PENNSYLVANIA LLC,                          :
                                           :
             Defendant.                    :   Judge Jennifer P. Wilson

                                 MEMORANDUM

      Plaintiff, Lower Susquehanna Riverkeeper Association (“LSRA”), initiated

this citizen suit against Defendant, Republic Services of Pennsylvania LLC

(“Republic”), for alleged violations of the Clean Water Act. Now before the court

are cross-motions for summary judgment. LSRA’s motion seeks summary

judgment on issues of subject matter jurisdiction and Republic’s liability, the latter

of which is mostly uncontested. Republic’s motion similarly seeks judgment on

issues of subject matter jurisdiction. Republic also seeks judgment finding that no

statutory civil penalty is warranted for its violations of the Clean Water Act. For

the reasons that follow, the court will grant in part and deny in part LSRA’s

motions, and deny Republic’s motion.

                                   BACKGROUND

      LSRA is a nonprofit organization whose mission is to “improv[e] and

protect[] the ecological integrity of the Susquehanna River watershed and
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Chesapeake Bay.” (Doc. 38-7, ¶ 3.) In this lawsuit, LSRA contends that Republic

has violated the Clean Water Act and should be assessed civil penalties for its

pollution of Kreutz Creek, a tributary of the Susquehanna River. LSRA also seeks

injunctive relief.

      Republic’s business is in the “solid waste industry” and includes “the

operation of landfills.” (Doc. 58, ¶ 1.) One such operation is Modern Landfill,

which Republic has controlled since 1999. (Id. ¶ 2.). Modern Landfill processes

“municipal solid waste and residual/industrial wastes.” (Id. ¶ 3.) A byproduct of

Modern Landfill’s operation is a liquid known as leachate, which “results from the

mixture of decomposing trash and precipitation infiltration from a landfill’s

surface.” (Id. ¶ 8.) To treat leachate, Modern Landfill operates a wastewater

treatment facility and has done so since 1988. (Id. ¶ 7.) There, treated leachate

eventually mixes with collected groundwater. (Id. ¶ 14.) This mixture ultimately

discharges into Kreutz Creek from a point designated as “Outfall 001.” (Id. ¶ 9.)

The composition of the material that Modern Landfill was discharging out of

Outfall 001 is the subject of LSRA’s lawsuit.

      On January 23, 2017, the Pennsylvania Department of Environmental

Protection (“PADEP”) issued National Pollutant Discharge Elimination System

Permit Number PA0046680 (“2017 NPDES Permit”) to Republic. (Id. ¶¶ 16, 19.)

The 2017 NPDES Permit took effect on February 1, 2017. (Id. ¶ 19.) Under this


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permit, Outfall 001 may discharge “up to 500,000 gallons per day . . . consisting of

a mixture of groundwater, landfill leachate, landfill gas condensate, and other plant

wash water.” (Id. ¶ 10.) The permit also contains effluent limitations comprised of

both an average monthly limit and a daily maximum limit. Limits pertaining to

two parameters—osmotic pressure and total boron—are at the center of this case.1

The average monthly limit for osmotic pressure was 129 mOs/kg, and the daily

maximum was 183 mOs/kg.2 (Doc. 58-4, p. 6.)3 The 2017 NPDES Permit did not

initially include any exact limitation for total boron. (Doc. 58, ¶ 22.) Instead, it

required Republic to monitor and report total boron discharge levels until February

1, 2020. (Id. ¶ 21.) On that date, total boron effluent concentration and total mass

limitations became effective. (Id. ¶ 23.) With respect to concentration, the average

monthly limit was 4.12 mg/L and the daily limit was 5.52 mg/L. (Id.) With

respect to total mass, the average monthly limit was 17.2 pounds per day, and the

daily limit was 23 pounds per day. (Doc. 58-4, p. 6.)




1
 LSRA’s complaint also brought claims related to alleged discharges of per-and polyfluoroalkyl
substances (“PFAS”). The parties stipulated to dismiss with prejudice any claims related to
PFAS. (Doc. 45.) The court approved the stipulation. (Doc. 46.)
2
 The unit of measure “mOs” stands for milliosmole, i.e., one one-thousandths of an osmole.
(Doc. 62, ¶ 20.) An osmole is the “amount of a substance that contributes to the osmotic
pressure of a solution.” (Id.)
3
    For ease of reference, the court uses the page numbers from the CM/ECF header.


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       Republic immediately recognized that its “wastewater treatment plant was

not capable of meeting the effluent limitations for total osmotic pressure” and

“total boron.” (Doc. 38-4, pp. 5–6.)4 Eventually the insufficiencies of Republic’s

facilities led to exceedances of the osmotic pressure effluent limits. PADEP sent

Notices of Violations to Republic concerning these exceedances in January 2018

and January 2019, respectively. (See Docs. 61-1, 61-2.) Republic’s response to

the January 2019 PADEP Notice of Violation acknowledged that its wastewater

treatment facility “was not designed to reduce Osmotic Pressure” and also

“suggested installation of a Reverse Osmosis . . . treatment system.” (Doc. 58-19,

p. 4.) Later in 2019, Republic also notified PADEP that its wastewater treatment

plant was also “not designed to treat for Total Boron.” (Id. at 5.)

       These realities led Republic and PADEP to enter into a Consent Order and

Agreement on August 25, 2020 (“COA”) pursuant to the Pennsylvania Clean

Streams Law. (Doc. 58, ¶ 39.) Through the COA, Republic agreed to upgrade its

wastewater treatment facility in accordance with a timeline detailed therein. (Id.)

The COA also imposed prospective penalties on Republic for all “exceedances of

effluent limitations for total osmotic pressure and total boron” that occurred after



4
  Republic conceded that it was “definitively aware” of its facility’s inadequacy upon learning
what the final effluent limitations would be in the 2017 NPDES Permit. Nevertheless, Republic
contends that this does not mean that it definitively knew its facility would exceed the limitations
at that time. (Doc. 44, ¶ 4.) This distinction is immaterial for the purpose of resolving the
present motions.
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June 2020. (Doc. 24, ¶ 5.) The COA “scaled” penalty amounts “to the magnitude

of the exceedance.” (Id.) Specifically, penalties for monthly average exceedances

ranged from $250 to $400 per exceedance. (Id.) Those for daily maximum

exceedances ranged from $125 to $200 per exceedance. (Id.) Between July 2020

and April 2023, Republic incurred $77,800 in penalties under the COA for

exceedances of these effluent limits. (Id. ¶ 6.)

       On April 19, 2023, Republic completed the agreed-upon upgrades to its

wastewater treatment facility. (Doc. 58, ¶ 53.) Republic has since been in

compliance with the 2017 NPDES Permit’s effluent limitations for osmotic

pressure and total boron.5 (Id.)

                                  PROCEDURAL HISTORY

       On November 2, 2022, LSRA sent a notice of intent (“NOI”) to Republic,

PADEP, and the United States Environmental Protection Agency, which informed

them of LSRA’s intent to file a citizen suit against Republic for its alleged

violations of osmotic-pressure and total-boron effluent standards occurring

between July 2019 and the date of the NOI. (Doc. 39-9, pp. 5–10.) LSRA then

filed suit in this court on January 11, 2023. (Doc. 1.) LSRA seeks injunctive

relief, civil penalties, as well as attorneys’ fees and other expenses.


5
 After this lawsuit was filed, PADEP issued a permit renewal that took effect on July 1, 2024.
(Doc. 58, ¶ 56.) The 2024 permit has the same effluent limits for osmotic pressure and total
boron as the 2017 NPDES Permit. (Id. ¶ 59.)
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      The parties stipulated that Republic exceeded its various effluent limitations

for osmotic pressure and total boron on 419 occasions, collectively, during the

period of July 2019 through April 2023. (Doc. 24, ¶ 2.) Thereafter, the parties

filed cross-motions for summary judgment. (Docs. 38, 56.) In support of their

respective motions, the parties each filed a brief in support, a statement of material

facts, and a reply brief. (Docs. 39, 40, 47, 57, 58, 63.) In opposing the other

party’s motion, the parties each filed a brief in opposition and an answer to the

other’s statement of material facts. (Docs. 43, 44, 61, 62.) The court has

considered all of these submissions. The motions are now ripe for review.

                                   JURISDICTION

      LSRA’s lawsuit arises under the laws of the United States. Therefore, the

court has jurisdiction over the general subject matter of this lawsuit pursuant to 28

U.S.C. § 1331. The court, however, must resolve two jurisdictional issues. First,

the parties each seek judgment on whether LSRA has standing to bring this

lawsuit. Second, the parties seek judgment on whether the COA triggers a

statutory bar of LSRA’s lawsuit. The court considers each issue in turn.

      A. Standing

      Federal courts only have the power to adjudicate “Cases” and

“Controversies” brought by those who have standing. California v. Texas, 593

U.S. 659, 668 (2021) (quoting U.S. Const. art. III, § 2). Standing is an “irreducible


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constitutional minimum” for a litigant to bring suit. Road-Con, Inc. v. City of

Philadelphia, 120 F.4th 346, 354 (3d Cir. 2024) (quoting Uzuegbunam v.

Preczewski, 529 U.S. 279, 285 (2021)). The Supreme Court has long recognized

that “an association has standing to bring suit on behalf of its members” if it

satisfies three factors. Hunt v. Wash. State Apple Advert. Comm’n, 432 U.S. 333,

343 (1977). First, the association’s “members would otherwise have standing to

sue in their own right.” Id. Second, “the interests it seeks to protect are germane

to the organization’s purpose.” Id. And third, “neither the claim asserted nor the

relief requested requires the participation of individual members in the lawsuit.”

Id. Here, Republic only challenges LSRA’s standing on the first element. It

argues that LSRA’s members would not have standing in their own right. (See

Doc. 57, pp. 17–22.)

      Article III’s standing requirement is satisfied when a plaintiff has “(1)

suffered an injury in fact, (2) that is fairly traceable to the challenged conduct of

the defendant, and (3) that is likely to be redressed by a favorable judicial

decision.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016). LSRA bears the

burden of establishing that its proffered members satisfy these three elements. Id.

Republic insists that none of these factors are satisfied here.




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                 1. LSRA’s Members

          LSRA proffers six of its members for standing purposes: Ted Evgeniadis,

Anne Kostas, Adrienne Johnson, Devin Winand, Carla Monticchio, and Shane

Allison.6 (See Doc. 38-7, ¶ 4.) As a threshold issue, Republic argues that LSRA

has failed to establish that Allison, Kostas, and Monticchio were actually LSRA

members when the complaint was filed. (Doc. 57, p. 18.) Republic’s argument is

unpersuasive.

          Evgeniadis, LSRA’s executive director, is “responsible for maintaining

[LSRA’s] membership records.” (Doc. 38-7, ¶ 4.) He declared that one becomes a

member in LSRA “by making a monetary contribution.” (Id.) He further declared

that Allison, Kostas, Monticchio, and the other proffered individuals “had made

monetary contributions and were [LSRA] members” at the time the complaint was

filed. (Id.) Republic points to discrete portions of each challenged member’s

deposition to rebut Evgeniadis’s statements. (See Doc. 58, ¶¶ 81, 108, 115.)

          These excerpts do not contradict Evgeniadis’s declaration. At most, these

excerpts show that Allison, Kostas, and Monticchio are unsure about the formal

requirements of becoming an LSRA member and could not provide the exact dates

they made monetary contributions. For instance, Allison testified at his deposition

that he had been an LSRA member for about three to four years (i.e., since 2020 or


6
    The court hereafter refers to these members by their last names.
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2021), but was unaware of the “requirement[s] for membership,” other than a

monetary donation. (Doc. 58-34, pp. 5–6.) Kostas testified that she became an

LSRA member approximately two years before her deposition (i.e., 2022) but

could not remember the exact dates that she made monetary contributions or the

exact amount. (Doc. 58-36, p. 6.) Similarly, Monticchio, confirmed that she had

joined LSRA online in January 2023 but was not sure if her membership was

active in April 2024 since she was unaware of exactly how often membership

renewed. (Doc. 58-37, pp. 4–5, 6.) In none of these depositions did Allison,

Kostas, or Monticchio disavow that they were LSRA members or otherwise

contradict Evgeniadis’s declaration. Republic faults Allison, Kostas, and

Monticchio for not having a detailed factual understanding of LSRA’s membership

processes. This is information that LSRA does not need to establish through

individual members, especially considering they are non-parties. See Pub. Interest

Research Grp. of N.J. v. Yates Indus., Inc., 757 F. Supp. 438, 443 (D.N.J. 1991)

(“[S]ince the members are nonparties, they need not be familiar with the specific

facts of the case.”) Accordingly, the court finds that LSRA sufficiently proved the

membership status of Allison, Kostas, and Monticchio.

            2. Injury in Fact

      An “environmental plaintiff” satisfies the injury-in-fact element of standing

“when they aver that they use the affected area and are persons ‘for whom the


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aesthetic and recreational values of the area will be lessened’ by the challenged

activity.” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S.

167, 183 (2000). In Laidlaw, the Supreme Court examined member averments that

it concluded satisfied the injury-in-fact element. Id. at 182–83. Those members

collectively averred, inter alia, that they lived near the river at issue; that due to the

defendant’s discharged pollutants, they no longer enjoyed the aesthetic beauty of

the river or recreational activities near the river; and that the value of one

member’s property dropped. Id.

      Here, the member declared, under the penalty of perjury, they suffered

injuries very similar to those in Laidlaw. Johnson and Monticchio no longer swim

or fish in Kreutz Creek because of concerns about pollutants and are concerned

that Republic’s pollution adversely affects the value of their properties, which are

next to Kreutz Creek and about 380 feet away, respectively. (Doc. 38-14, pp. 2–3;

Doc. 38-16, pp. 2–3.) Winand avers that his property is a few hundred yards away

from the creek, that he stopped using the creek due to pollution concerns, and that

his recreational and aesthetic appreciation for Kreutz Creek has been diminished

by its pollution. (Doc. 38-15, p. 3.) Similarly, Allison declared that Outfall 001

discharges into Kreutz Creek about 400 feet from his property and that due to

pollution, he too no longer fishes or swims in Kreutz Creek. (Doc. 38-17, pp. 2–3.)

These declarations undoubtedly show that LSRA’s members are attempting to


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vindicate “threatened concrete interest[s] of [their]’ own” and are “precisely the

type of plaintiff[s]” who can demonstrate injury in fact. See Friends of the Earth,

Inc. v. Gaston Copper Recycling Corp., 204 F.3d 149, 159 (4th Cir. 2000) (quoting

Lujan v. Defenders of Wildlife, 504 U.S. 555, 573 n.8 (1992)).

      Republic advances two unavailing arguments to the contrary. First,

Republic faults LSRA’s members for failing to aver harm to human health. (Doc.

43, p. 14.) Yet, harm to human health is not a necessary condition of satisfying the

injury-in-fact element in this context. See Laidlaw, 528 U.S. at 183 (finding harm

to “recreational, aesthetic, and economic interests” sufficient); Pub. Interest

Research Grp. of N.J. v. Powell Duffryn Terminals Inc., 913 F.2d 64, 71 (3d Cir.

1990) (explaining that “harm to aesthetic and recreational interests is sufficient to

confer standing”). Second, Republic points to deposition excerpts in which some

members purportedly stated that they would not increase their use of Kreutz Creek

even if Republic was in compliance with its effluent limits. According to

Republic, this testimony purportedly proves that its pollution is immaterial to the

members’ decision not to enjoy Kreutz Creek. Republic’s argument relies on an

obvious sleight of hand. The testimony Republic cites actually shows that certain

members are skeptical that they would resume enjoyment of Kreutz Creek

regardless of whether Republic was compliant with the specific limitations at issue,

given its past pollution and their concern about whether Kreutz Creek is, in fact,


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safe for use. (See Doc. 44-15, pp. 16–17; Doc. 44-17, p. 12; Doc. 44-18, pp. 11–

12; Doc. 44-19, p. 14.). No LSRA member testified, or even suggested, that

Republic’s previous exceedances of their effluent limits had no effect on their

enjoyment of Kreutz Creek. Accordingly, these members’ testimonies do not

undermine the conclusion that LSRA’s members suffered an injury in fact.

               3. Traceability

      In this case, the traceability element of standing “may be established by

showing that a defendant has 1) discharged some pollutant in concentrations

greater than allowed by its permit 2) into a waterway in which the plaintiffs have

an interest that is or may be adversely affected by the pollutant and that 3) this

pollutant causes or contributes to the kinds of injuries alleged by the plaintiffs.”

Powell Duffryn, 913 F.2d at 72. There is little doubt that LSRA has satisfied the

first two factors. Republic’s exceedances are stipulated. (Doc. 24.) And, the

LSRA members’ declarations make clear that they have an interest in Kreutz

Creek.

         Republic argues that the third factor of traceability is not satisfied here. it

faults LSRA for not relating its members aesthetic injuries specifically to boron or

osmotic pressure. (Doc. 57, p. 19–21.) But, LSRA’s members’ have shown

injuries that are beyond the aesthetic. As noted above, some have stopped fishing

in Kreutz Creek due to pollution and noticed decreased wildlife biodiversity.


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(Doc. 38-14, ¶¶ 8–9; Doc. 38-15, ¶ 7; Doc. 38-16, ¶ 9; Doc. 38-17, ¶ 7.). Others

have averred that they have stopped swimming in Kreutz Creek because of

potential harmful effects on their health. (Doc. 38-14, ¶ 8; Doc. 38-16, ¶ 8; Doc.

38-17, ¶ 6.) LSRA provides evidence that high concentrations of osmotic pressure

and boron can be harmful to aquatic life and human health, respectively. (Doc. 40,

¶¶ 18–20.) Republic fails to provide rebutting evidence. Instead, Republic

dismisses LSRA’s evidence as irrelevant. (Doc. 44, ¶¶ 18–20.)

      The evidence is, indeed, relevant and shows that boron and osmotic pressure

can contribute to the type of injuries LSRA’s members have shown. Nothing more

is necessary under this element of standing. See Powell Duffryn, 913 F.2d at 73

n.10 (explaining that plaintiffs do not need to show “to a scientific certainty” that

defendant’s specific pollutants caused their injuries). To require a “tort-like

causation” would be inconsistent with Article III and would dimmish the strict-

liability nature of the Clean Water Act. Id. Therefore, LSRA has established that

its members’ injuries are traceable to Republic’s pollution.

             4. Redressability

      It is undisputed that Republic’s violations were ongoing at the time LSRA

commenced this lawsuit. (See Doc. 24, ¶ 2.) Given this fact, injunctive relief and

civil penalties at that point would have provided redress and served an important




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deterrent function. PennEnvironment v. RRI Energy Ne. Mgmt. Co., 744 F. Supp.

2d 466, 481–82 (W.D. Pa. 2010). Republic makes no argument to the contrary.

      Instead, Republic argues that injunctive relief and civil penalties would no

longer redress the injuries of LSRA’s members. According to Republic, injunctive

relief and civil penalties would serve no deterrent effect—and therefore are

useless—because it has been in compliance with its 2017 NPDES Permit since

April 2023 and is unlikely to violate its effluent limits in the future. (Doc. 43, pp.

17–19.) In essence, Republic argues its post-complaint reformed behavior has

obviated the need for such remedies. Republic’s argument speaks to mootness

rather than redressability.

      Standing and mootness are distinct doctrines, though related to similar

justiciability concerns. “Standing ensures that each plaintiff has ‘[t]he requisite

personal interest . . . at the commencement of the litigation,’ while mootness

ensures that this interest ‘continue[s] throughout’ the duration of the case.”

Freedom from Religion Found. Inc. v. New Kensington Arnold Sch. Dist., 832 F.3d

469, 476 (3d Cir. 2016) (quoting Arizonans for Official English v. Arizona, 520

U.S. 43, 68 n.22 (1997)). “A defendant’s voluntary cessation of allegedly unlawful

conduct ordinarily does not suffice to moot a case.” Laidlaw, 528 U.S. at 174.

Only when “absolutely clear that the allegedly wrongful behavior could not

reasonably be expected to recur” will a defendant’s voluntary cessation moot a


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case. Hartnett v. Pa. State. Educ. Ass’n, 963 F.3d 301, 306 (3d Cir. 2020) (quoting

Fields v. Speaker of the Pa. House of Representatives, 936 F.3d 142, 161 (3d Cir.

2019)). The “heavy” burden of establishing mootness on the basis of voluntary

cessation lies with the defendant. West Virginia v. EPA, 597 U.S. 697, 719 (2022)

(quoting Laidlaw, 528 U.S. at 189).

      The question, then, is whether Republic’s post-complaint compliance with

the 2017 NPDES Permit has mooted this case. In considering this precise

question, the Third Circuit has held that post-complaint compliance with an

NPDES permit does not moot claims for civil penalties under the Clean Water Act.

Nat. Res. Def. Council, Inc. v. Texaco Refining & Mktg., Inc., 2 F.3d 493, 503 (3d

Cir. 1993). In so holding, the Third Circuit emphasized that the Clean Water Act

specifies that violators “shall be subject to a civil penalty.” Id. (quoting 33 U.S.C.

§ 1319(d)). “This mandatory language demonstrates that once a citizen plaintiff

establishes an ongoing violation of a parameter at the time the complaint is filed,

the court is obliged to assess penalties for all proven violations of that parameter.”

Id. The Third Circuit’s holding aligns with those from other circuits. See, e.g., Atl.

States Legal Found., Inc. v. Stroh Die Casting Co., 116 F.3d 814, 820 (7th Cir.

1997); Atl. States Legal Found., Inc. v. Pan Am. Tanning Corp., 993 F.2d 1017,

1020–21 (2d Cir. 1993); Atl. States Legal Found., Inc. v. Tyson Foods, Inc., 897




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F.2d 1128, 1135 (11th Cir. 1990). Accordingly, Republic’s post-complaint

remediation does not moot LSRA’s claim for civil penalties.7

       LSRA has satisfied the requirements for standing. Therefore, the court will

grant judgment on this jurisdictional issue in LSRA’s favor and deny Republic’s

motion on this issue.

       B. Statutory Preclusion

       The other jurisdictional issue the court must address is whether the COA

triggers one of the Clean Water Act’s provisions that bars citizen suits.

Specifically, the Clean Water Act states that “any violation . . . with respect to

which a State has commenced and is diligently prosecuting an action under a State

law comparable to this subsection ... shall not be the subject of a civil penalty

action.” 33 U.S.C. § 1319(g)(6)(A). The parties each seek judgment on whether

the COA triggers this statutory provision.

       This court previously addressed whether a COA issued pursuant to the Clean

Streams Law bars a citizen suit pursuant to 33 U.S.C. § 1319(g)(6)(A). Lower

Susquehanna Riverkeeper v. Keystone Protein Co., 520 F. Supp. 3d 625, 635–36

(M.D. Pa. 2021). In Keystone, the court found that the Clean Streams Law is not a

law “comparable” to the Clean Water Act. Id. at 636. In reaching this conclusion,



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 Republic’s remediation may well have mooted LSRA’s request for injunctive relief. See Tyson
Foods, 897 F.2d at 1135. The court, however, need not decide that question now.
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the court recognized that there is a circuit split on the appropriate standard of

comparability and that the Third Circuit had not weighed in on the issue. Id. at

634. The court analyzed two competing standards, respectively known as the

“overall comparability” standard and the “rough comparability” standard. Id. at

634–35. The “overall comparability” standard “asks a district court to look at the

state law in a holistic manner” using several factors. Id. at 634. The “rough

comparability” standard requires a district court to determine whether the state law

contains the same “three categories of provisions” as 33 U.S.C. § 1391(g): “penalty

assessment, public participation, and judicial review.” Id. at 634–35 (quoting

Paper, Allied-Indus., Chem & Energy Workers Int’l Union v. Cont’l Carbon Co.,

428 F.3d 1285, 1294 (10th Cir. 2005)).

      The court adopted the “rough comparability” standard in Keystone for three

reasons:

       “First, requiring compatibility between each class of provisions makes
      § 1319(g)(6) easier to apply,” and prevents this court from having to
      “weigh incommensurable values.” Second, adopting this standard
      reduces uncertainty for litigants, the legislature, and administrative
      agencies. And third, this standard is the most logical consequence of
      the text of § 1319(g)(6), which provides that the state law in question
      must be “comparable to this subsection” as a whole (which would
      include all three of the above classes of provisions).

Id. at 635 (internal citations omitted) (quoting McAbee v. City of Fort Payne, 318

F.3d 1248, 1254 (11th Cir. 2003)).



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       Applying this standard, the court found that the Clean Streams Law was not

comparable to the Clean Water Act due to the differences in public participation

with respect to civil penalties. Id. at 636. “[T]he Clean Streams Law,” the court

explained, “does not provide the public with adequate notice and the opportunity to

participate in PADEP’s initial assessment of a civil penalty.” Id. Republic does

not take issue with the court’s previous application of the “rough comparability”

standard.

       Instead, Republic urges the court to apply the “overall comparability”

standard. (Doc. 57, pp. 27–30.) Republic argues that the “rough comparability”

standard undermines efforts at environmental enforcement by permitting

duplicative, non-deterring lawsuits against defendants who have already

remediated their pollution.8 Moreover, Republic insists that the “overall

comparability” standard is “the logical extension of” the Supreme Court’s holding

in Gwaltney of Smithfield, Ltd. v. Chesapeake Bay Foundation, Inc., 484 U.S. 49,

60–61 (1987). Yet, Republic points to no binding precedent that conflicts with




8
  In its briefing, Republic uses the terms “rough comparability” and “rough similarity” to
describe the standard adopted by the Fifth and Eighth Circuits. (Doc. 57, p. 28.) In Keystone,
the court referred to that standard as the “overall comparability” standard. Republic uses the
term “strict comparison” to describe the standard which this court adopted in Keystone, i.e., the
“rough comparability” standard. Republic’s choice of phrasing is strange considering the
McAbee and Continental Carbon courts explicitly rejected a “rigorous” comparability standard.
Cont’l Carbon, 428 F.3d at 1293; McAbee, 318 F.3d at 1252. For clarity, the court refers to
these two standards here as it did in Keystone.
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Keystone. The Third Circuit has still not weighed in on the appropriate standard of

comparability.

      The court will again apply the “rough comparability” standard. Republic’s

policy arguments do not sufficiently consider the statutory language, which states

that the state law must be “comparable to this subsection.” 33 U.S.C.

§ 1319(g)(6)(A) (emphasis added). The Eleventh Circuit described the

significance of this language:

      Unlike many of the other paragraphs in § 1319(g), paragraph (6) makes
      no references to particular paragraphs within the subsection. Instead,
      paragraph (6) refers to the subsection as a whole, which includes not
      only penalty-assessment provisions but also public-participation and
      judicial-review provisions. This is strong textual evidence that
      Congress intended courts to consider all three classes of provisions
      when deciding whether state law is “comparable” to § 1319(g) of the
      [Clean Water Act].

McAbee, 318 F.3d at 1254 (internal citations omitted). The court does not find

Republic’s policy argument convincing in light of this statutory language.

      Republic’s reference to Gwaltney does little to move the needle. The court

disagrees that Gwaltney necessitates application of the “overall comparability”

standard. The Continental Carbon and McAbee courts both found the “rough

comparability” standard compatible with Gwaltney. Cont’l Carbon, 428 F.3d at

1293; McAbee, 318 F.3d at 1252. The court agrees with those courts on this point.

      For these reasons, the court is not persuaded that it should revisit its previous

conclusion that the Clean Streams Law is not comparable to the Clean Water Act

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under 33 U.S.C. § 1319(g)(6)(A). Keystone, 520 F. Supp. 3d at 635–36. Thus, the

COA does not preclude LSRA’s lawsuit. Therefore, the court will grant judgment

on this issue in LSRA’s favor. Having found LSRA has standing and its case is

not statutorily barred, the court properly has subject matter jurisdiction over this

lawsuit.9

                                     STANDARD OF REVIEW

          A court may grant a motion for summary judgment when “there is no

genuine dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed. R. Civ. P. 56(a). A dispute of fact is material if resolution of

the dispute “might affect the outcome of the suit under the governing law.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). Summary judgment is

not precluded by “[f]actual disputes that are irrelevant or unnecessary.” Id. “A

dispute is genuine if a reasonable trier-of-fact could find in favor of the

nonmovant’ and ‘material if it could affect the outcome of the case.” Lichtenstein

v. Univ. of Pittsburgh Med. Ctr., 691 F.3d 294, 300 (3d Cir. 2012)).

          In reviewing a motion for summary judgment, the court must view the facts

in the light most favorable to the non-moving party and draw all reasonable

inferences in that party’s favor. Jutrowski v. Twp. of Riverdale, 904 F.3d 280, 288

(3d Cir. 2018) (citing Scheidemantle v. Slippery Rock Univ. State Sys. of Higher


9
    Venue properly lies in this court pursuant to 28 U.S.C. § 1391(b).
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Educ., 470 F.3d 535, 538 (3d Cir. 2006)). The court may not “weigh the evidence”

or “determine the truth of the matter.” Anderson, 477 U.S. at 249. Instead, the

court’s role in reviewing the facts of the case is “to determine whether there is a

genuine issue for trial.” Id.

      The party moving for summary judgment “bears the initial responsibility of

informing the district court of the basis for its motion, and identifying those

portions of ‘the pleadings, depositions, answers to interrogatories, and admissions

on file, together with the affidavits, if any,’ which it believes demonstrate the

absence of a genuine issue of material fact.” Celotex Corp. v. Catrett, 477 U.S.

317, 323 (1986) (quoting Fed. R. Civ. P. 56(c)). The non-moving party must then

oppose the motion, and in doing so “‘may not rest upon the mere allegations or

denials of [its] pleadings’ but, instead, ‘must set forth specific facts showing that

there is a genuine issue for trial. Bare assertions, conclusory allegations, or

suspicions will not suffice.’” Jutrowski, 904 F.3d at 288–89 (quoting D.E. v. Cent.

Dauphin Sch. Dist., 765 F.3d 260, 268–69 (3d Cir. 2014)).

      Summary judgment is appropriate where the non-moving party “fails to

make a showing sufficient to establish the existence of an element essential to that

party’s case, and on which that party will bear the burden of proof at trial.”

Celotex, 477 U.S. at 322. “The mere existence of a scintilla of evidence in support

of the plaintiff’s position will be insufficient; there must be evidence on which the


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jury could reasonably find for the plaintiff.” Anderson, 477 U.S. at 252. “Where

the record taken as a whole could not lead a rational trier of fact to find for the

non-moving party, there is no genuine issue for trial.” Matsushita Elec. Indus. Co.,

Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).

                                     DISCUSSION

      Two issues remain for judicial resolution on these cross-motions for

summary judgment. First, LSRA seeks judgment on Republic’s liability for its

alleged exceedances of the 2017 NPDES Permit’s effluent limitations for total

boron and osmotic pressure. Second, Republic seeks judgment concluding that the

imposition of a civil penalty is unwarranted under the Clean Water Act.

     A. Liability

     Republic has stipulated that its discharges exceeded the relevant limits on

419 occasions between July 2019 and April 2023. (Doc. 24, ¶ 2.) These

exceedances involved both the daily maximum limit and the monthly average

limit. (Id.) The Clean Water Act imposes strict liability, meaning that the statute

“is violated if a permittee discharges pollutants in violation of its permit, regardless

of the permittee’s mens rea.” United States v. Allegheny Ludlum Corp., 366 F.3d

164, 175 (3d Cir. 2004). Republic does not dispute that it is liable for 419

violations of the Clean Water Act. Accordingly, the court will grant judgment in

favor of LSRA with respect to these 419 violations.


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     LSRA additionally seeks judgment as to liability for another 30 exceedances

by Republic that occurred between October 2017 and June 2019. Republic

contests liability for these 30 exceedances. (Doc. 40, ¶ 5; Doc. 44, ¶ 5.) Republic

argues that LSRA has failed to allege these 30 exceedances in its complaint. (Doc.

57, p. 23.) It is true that LSRA’s complaint only alleges that Republic violated the

Clean Water Act dating back to July 2019. (Doc. 1, ¶¶ 23, 29.) There is no

allegation of any violation predating July 2019. “A party may not utilize a

summary judgment motion as a vehicle to raise claims not supported by the

pleadings.” Schultz v. Wilson, No. 1:04-CV-1823, 2007 WL 4276696, at *2 n.11

(M.D. Pa. Dec. 4, 2007).

      LSRA counters that Republic consented to litigate these claims pursuant to

Federal Rule of Civil Procedure 15(b)(2). (Doc. 47, pp. 23–24.) Rule 15(b) is

captioned “Amendments During and After Trial.” Fed. R. Civ. P. 15(b). Rule

15(b)(2) states:

      For Issues Tried by Consent. When an issue not raised by the
      pleadings is tried by the parties' express or implied consent, it must be
      treated in all respects as if raised in the pleadings. A party may move-
      -at any time, even after judgment--to amend the pleadings to conform
      them to the evidence and to raise an unpleaded issue. But failure to
      amend does not affect the result of the trial of that issue.

Fed. R. Civ. P. 15(b)(2). The applicability of Rule 15(b)(2) to summary judgment

is an open question in the Third Circuit. See Liberty Lincoln-Mercury, Inc. v. Ford

Motor Co., 676 F.3d 318, 327 n.7 (3d Cir. 2012) (declining to weigh in on circuit

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split over applicability of Rule 15(b) to summary judgment). This court, too, need

not weight in on this issue. Even assuming, without deciding, that Rule 15(b)(2)

were applicable at this stage of the proceeding, LSRA has failed to show that

Republic consented to litigate the pre-July 2019 exceedances.

       LSRA has failed to adduce any evidence that Republic expressly consented

to litigate these claims. Thus, LSRA must show that Republic impliedly consented

to litigating them. Analyzing implicit consent under Rule 15(b)(2) requires

consideration of three factors: (1) “whether the parties recognized that the

unpleaded issue entered the case”; (2) “whether the evidence that supports the

unpleaded issue was introduced . . . without objection”; and (3) “whether a finding

of trial by consent prejudiced the opposing party's opportunity to respond.” Liberty

Lincoln-Mercury, 676 F.3d at 327 (quoting Douglas v. Owens, 50 F.3d 1226, 1236

(3d Cir. 1995)). LSRA proffers nothing to suggest factors one and three weigh in

its favor.

       As to factor two, LSRA contends that Republic’s acknowledgment of the

pre-July 2019 exceedances in response to a few interrogatories, in its general

manager’s deposition, and in its statement of facts all evidence Republic’s consent.

(Doc. 47, p. 24; Doc. 61, p. 7.) The court disagrees. LSRA explicitly admitted

that its written discovery “did not indicate any intent to litigate pre-July 2019

violations.” (Doc. 58, ¶ 151; Doc. 62, ¶ 151.) Moreover, the pre-July 2019


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exceedances are relevant to LSRA’s originally pleaded claims. As discussed

below, a violator’s history of violations is a factor a court must consider when

determining an appropriate civil penalty under the Clean Water Act. 33 U.S.C.

§ 1319(d). Given this, a few references to these exceedances would not necessarily

have given Republic “any notice that the implied claim[s] [were] being tried.”

Liberty Lincoln-Mercury, 676 F.3d at 328 (quoting Douglas, 50 F.3d at 1236).

The court cannot conclude that the pre-July 2019 exceedances were introduced into

this case without objection. 10 Thus, LSRA is not entitled to judgment on these

claims violations.11




10
  Republic sought summary judgment on this issue. (Doc. 57, pp. 23–27.) Since the pre-July
2019 exceedances are not pleaded and not part of this case, the court sees no reason to grant
judgment in favor of Republic. Instead, the court will simply deny this aspect of LSRA’s
motion. However, this ruling does not preclude the consideration of the pre-July 2019
exceedances at the penalty phase of this litigation when analyzing the factors outline in 33
U.S.C. § 1319(d).
11
   The parties devoted some of its briefing to the issue of whether the NOI—which included a list
of violations beginning in July 2019—was legally sufficient to initiate a suit vis-à-vis the pre-
July 2019 exceedances. Before initiating a citizen suit, a plaintiff must provide notice in the
manner prescribed by 33 U.S.C. § 1365(b)(1) and 40 C.F.R. § 135.3(a). Such notice is a
jurisdictional prerequisite of filing suit. Pub. Interest Research Grp. of N.J., Inc. v. Hercules,
Inc., 50 F.3d 1239, 1249 (3d Cir. 1995). There is no dispute that the NOI was sufficient with
respect to the 419 violations that occurred between July 2019 and April 2023. The court need
not determine whether the NOI was sufficient with respect to the pre-July 2019 exceedances,
since LSRA did not plead them and the parties did not consent to litigate them under Rule
15(b)(2).


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      B. Civil Penalty

      Republic seeks a judgment that no civil penalty is warranted for its 419

violations of the Clean Water Act. LSRA retorts that genuine issues of material

fact preclude summary judgment on this issue. The court agrees with LSRA.

      Having been found liable for 419 violations of the Clean Water Act,

Republic “shall be subject to a civil penalty not to exceed $25,000 per day for each

violation.” 33 U.S.C. § 1319(d). This court is “accord[ed] . . . wide discretion” in

determining an appropriate penalty, given the “highly discretionary calculations”

involved in doing so. United States v. Mun. Auth. of Union Twp., 150 F.3d 259,

264 (3d Cir. 1998) (hereinafter “Dean Dairy”) (quoting Tull v. United States, 481

U.S. 412, 426–27 (1987)). In determining a penalty, the court must consider six

statutory factors: “the seriousness of the violation or violations, the economic

benefit (if any) resulting from the violation, any history of such violations, any

good-faith efforts to comply with the applicable requirements, the economic

impact of the penalty on the violator, and such other matters as justice may

require.” 33 U.S.C. § 1319(d).

      Upon review of the record, it is clear that an issue of material fact exists as

to what economic benefit Republic received from its violations. Both parties

prepared expert reports that address this factor. LSRA’s expert opined that

Republic’s delayed compliance with its legal obligations generated an economic


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benefit of approximately $4.1 million. (Doc. 61-13, p. 4.) Republic’s expert

opined that Republic’s net economic benefit was $569,904. (Doc. 61-15, p. 5.)

This wide gap is a genuine issue of material fact that is sufficient to defeat

summary judgment.

      Republic resists this conclusion. According to Republic, the economic-

benefit factor is calculated based on “the date that compliance allegedly should

have been achieved, but was not.” (Doc. 57, p. 34.) Republic argues that it

achieved compliance by the earliest practicable date, i.e., April 2023. (Id. at 37.)

It insists that it could not have remediated its ongoing pollution any faster than it

did, given the research and construction steps required to do so. (Id. at 36.) Under

Republic’s theory, this means it experienced “no period of noncompliance” for the

purpose of this factor and, by definition, no economic benefit. (Id. at 37)

(emphasis added.) Republic attempts to explain its expert report away as

“irrelevant” by contending that the report assumes a noncompliance period that the

court should not accept, i.e., July 2019 to the date of the report. (Doc. 63, p. 23.)

      Republic’s position flies in the face of law and logic. First, Republic fails to

cite any case that supports its concept of a non-compliance period. Second, the

Third Circuit has made clear that this factor “is intended, at its base, to identify the

benefit realized by a violator from delayed expenditures to comply with the [Clean

Water Act].” Allegheny Ludlum, 366 F.3d at 178. This factor is also intended to


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“prevent a party violating the [Clean Water Act] from gaining an unfair advantage

against its competitors, and to prevent it from profiting from its wrongdoing.” Id.

at 177 (citing Powell Duffryn, 913 F.2d at 80). The relevant period of non-

compliance, therefore, must bear some relationship to the period during which the

defendant was actually violating the Clean Water Act. Otherwise, good faith

efforts at compliance would entirely negate the economic-benefit factor. This is an

impermissible outcome considering § 1319(d) requires courts to consider all six

enumerated factors. See 33 U.S.C. § 1319(d). Although Republic claims that it is

not arguing one statutory factor can negate another, that is the practical effect of its

argument.

       The court does not make any finding as to what Republic’s specific period of

non-compliance is for determining a penalty in this case or that Republic, in fact,

derived any economic benefit. The court will consider these issues at the

appropriate fact-finding proceeding. The court simply finds at this time that

Republic cannot show as a matter of law that it did not receive an economic benefit

and, thus, a genuine issue of material fact exists as to this factor.12




12
  The court need not consider any other of the § 1319(d) factors at the present time. The court
will consider all relevant factors at the penalty phase of this case.
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      C. Approach to Calculating Civil Penalty at Penalty Phase

      For the benefit of the parties moving forward, the court will preview the

approach it will use to calculate the appropriate civil penalty in this case. The

Third Circuit has stated that district courts are “free to use its discretion in

choosing” between two appropriate methods of calculating a civil penalty under

§ 1319(d). Dean Dairy, 150 F.3d at 265. One method is the “‘top down’ approach

in which the maximum possible penalty is first established, then reduced following

an examination of the six ‘mitigating’ factors.” Id. The other approach is the

“‘bottom up’ approach whereby the economic benefit a violator gained by non-

compliance is established and adjusted upward or downward using the remaining

five factors in § 1319(d).” Id. In this case, the court will employ the “bottom up”

approach.




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                                   CONCLUSION

      For the reasons articulated above, the court will grant in part and deny in

part LSRA’s motion, and deny Republic’s motion. An appropriate order will issue.

                                       s/Jennifer P. Wilson
                                       JENNIFER P. WILSON
                                       United States District Judge
                                       Middle District of Pennsylvania

Dated: March 31, 2025




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